I concur in the foregoing opinion except the following paragraph thereof:
"If a controversy arose between the attorneys and the mining company as to whether the contingent fee contract obligated the attorneys to perform all necessary services in defending against the injunction suit and because of such controversy the contingent fee contract was modified or amended, and if under and pursuant to the terms of the amendment the mining company thereafter actually paid counsel for such services, out of its own funds, not with money which would have belonged to the attorneys under the contingent fee contract, if not modified, then and in such case, the recovery of a reasonable attorney fee, not exceeding the amount actually paid and not exceeding the limit of the bond, may be had."
I dissent from that paragraph: First, because it makes the right to modify or amend a contract dependent on the existence of a controversy between the parties thereto as to its terms, whereas that right depends only on their willingness and agreement to do so; second, we should not *Page 702 
assume to attempt to state the law applicable to the facts of the case, in the absence of knowledge as to what the facts are.